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                           UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
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11
       CHRIS HICKS, on behalf of himself    Case No. 2:23-cv-00638-JLS-MRW
12     and all others similarly situated,
13                                          ORDER DISMISSING ACTION
14                        Plaintiff,        PURSUANT TO F.R.C.P. 41 (Doc. 14)

15
                     v.
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       FIVE BELOW, INC.,

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                          Defendant.
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     Case 2:23-cv-00638-JLS-MRW Document 15 Filed 04/07/23 Page 2 of 2 Page ID #:259



 1          Pursuant to the parties’ Stipulation of Dismissal (Doc. 14), it is hereby
 2    ORDERED, ADJUDGED, AND DECREED as follows:
 3          The action is dismissed with prejudice as to plaintiff Chris Hicks and without
 4    prejudice as to the class allegations in the Complaint. The Parties will each bear
 5    their own fees and costs.
 6

 7    IT IS SO ORDERED.
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 9    DATED: April 7, 2023
10                                    _________________________________________
11                                    HON. JOSEPHINE L. STATON
                                      UNITED STATES DISTRICT JUDGE
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